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                                                                      [PUBLISH]


               IN THE UNITED STATES COURT OF APPEALS

                        FOR THE ELEVENTH CIRCUIT
                          ________________________

                                 No. 19-10014
                           ________________________

                    D.C. Docket No. 8:16-cv-2419-CEH-AEP


 ERIN TONKYRO,
 DANA STRAUSER,
 KARA MITCHELL-DAVIS,
 YENNY HERNANDEZ,

                                                             Plaintiff – Appellant,

                                     versus

 SECRETARY, DEPARTMENT OF VETERANS AFFAIRS,

                                                          Defendant – Appellees.

                           ________________________

                   Appeal from the United States District Court
                       for the Middle District of Florida
                         ________________________

                                 (April 20, 2021)

 Before JORDAN, TJOFLAT, and ANDERSON, Circuit Judges.

 TJOFLAT, Circuit Judge:
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       We sua sponte vacate our previous opinion and substitute the following in

 lieu thereof.

                                     *     *      *

       This appeal arises from a Title VII action filed by four ultrasound

 technologists at the James A. Haley VA Healthcare System (“Tampa VA”) against

 the Secretary of the Department of Veterans Affairs (“the Secretary”). All

 Plaintiffs allege that their supervisors and coworkers retaliated against them and

 subjected them to a hostile work environment because they engaged in protected

 Equal Employment Opportunity Commission (“EEOC”) activity. One Plaintiff

 also alleges that she was subjected to a hostile work environment based on her sex.

 Plaintiffs appeal from the District Court’s grant of summary judgment in favor of

 the Secretary.

       Because two intervening decisions—one from the Supreme Court and one

 from our Court—changed the law applicable to Plaintiffs’ discrete retaliation

 claims and retaliatory hostile work environment claims, we remand those claims to

 the District Court with the instruction that it analyze the claims consistent with the

 intervening decisions. Because the intervening decisions did not, in our judgment,

 affect the resolution of the sex-based hostile work environment claim in this case,

 we consider that claim alone and affirm the District Court’s decision to enter

 summary judgment for the Secretary.

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                                          I.

       In 2012, Plaintiffs Erin Tonkyro, Kara Davis, and Dana Strauser filed EEOC

 complaints alleging that they were sexually harassed by supervisors and

 radiologists at the Tampa VA. An Administrative Investigation Board was formed

 to investigate the complaints, and Plaintiff Yenny Hernandez testified in support of

 the other three Plaintiffs. The complaints were eventually settled with the VA in

 September 2013.

       In July 2014, Tonkyro, Davis, and Strauser filed formal EEOC complaints

 alleging retaliation for their having filed previous EEOC complaints and the 2013

 settlements. Hernandez filed a formal EEOC complaint in September 2016

 alleging sexual harassment and retaliation for her participation in the 2012 EEOC

 proceedings.

       On August 23, 2016, Plaintiffs filed the present action against the Secretary.

 Plaintiffs’ third amended complaint alleged three counts. Count One alleged that

 Plaintiffs’ supervisors retaliated against them because of their EEOC complaints

 and settlements in violation of 42 U.S.C. § 2000e et seq.. Count Two alleged that

 Plaintiffs’ supervisors and coworkers subjected them to a hostile work

 environment in retaliation for their EEOC activity. And Count Three alleged a

 sex-based hostile work environment claim on behalf of Hernandez.




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                                          A.

       Because we decide only whether Hernandez’s sex-based hostile work

 environment claim should have survived summary judgment, and remand the other

 claims to the District Court for reconsideration, we present only the facts relating

 to that claim.

       On August 27, 2015, Hernandez’s co-worker Angela Geraci pulled up her

 blouse to show Hernandez the outline of her breasts through her undershirt. A few

 days later, Geraci—during a conversation with Hernandez about transvaginal

 ultrasounds—asked Hernandez “Why don’t you just let me borrow your vagina?”

 On September 3, 2015, Geraci approached Hernandez and asked “Is the vagina

 here?,” and made a gesture of inserting something into her vagina. Hernandez

 reported Geraci’s behavior to her supervisor Scott Petrillo, who conducted a fact

 finding and gave both Geraci and Hernandez verbal warnings.

       On September 10, 2015, Geraci stated that she enjoyed working at the

 Tampa VA, but could not stand the fact that she had to work with “dirty vaginas.”

 On September 18, 2015, Geraci gave Hernandez “an angry, hostile look.” On

 September 21, 2015, Geraci refused to speak with Hernandez when Hernandez

 approached her about a patient.

       At some time in October 2015, Geraci gave Hernandez a high five and

 “chest bumped” her. On multiple occasions in October and November 2015,

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 Hernandez saw Geraci scan her own abdomen with an ultrasound transducer. In

 November 2015, Geraci told Hernandez, in a “condescending and hostile” tone, to

 use Hernandez’s own assigned room. In December 2015, Geraci referred to a

 radiology resident as “Dark Chocolate” and described “all the things she would

 do” to attract him.

       In December 2015 and January 2016, Geraci gave Hernandez “dirty looks,”

 made disparaging remarks about Hernandez’s eating disorder, and told Hernandez

 “Oh my God, you are obsessed over the stupidest shit ever.” On multiple

 occasions, Geraci gave Hernandez disgusted looks while Hernandez was eating,

 and, on one occasion, said “I can’t believe you’re going to eat all that.”

       In January 2016, Geraci embraced Hernandez and kissed her on the cheek

 after she told Geraci that her patient had cancelled an appointment. On another

 occasion, Geraci caused Hernandez to be late for an appointment with a patient

 because Geraci took 50 minutes to perform an ultrasound that should have taken 30

 minutes.

       In February 2016, Geraci entered a room in which Hernandez was

 performing an ultrasound and demanded that Hernandez leave the room. On

 February 17, 2016, while Geraci was chaperoning Hernandez for a transvaginal

 ultrasound, Geraci interrupted Hernandez and told her to “hurry up.” On February

 19, 2016, Geraci told Hernandez, in an angry tone, that it was her responsibility to

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 close the examination rooms when she was done. That same day, Geraci asked

 Hernandez, “in a condescending and angry tone,” whether she completed her

 outpatient requests. Hernandez reported these incidents to Petrillo, but Petrillo

 took no action.

         In March 2016, Hernandez observed Geraci embrace Brent Burton, a male

 ultrasound technologist, in an inappropriate manner. Hernandez also observed

 Geraci sit on Burton’s lap and wrap her arms around his neck. On multiple

 occasions in 2016, Geraci pulled up her shirt to reveal her abs to Hernandez despite

 knowing that Hernandez did not want to see them. When Hernandez reported

 Geraci’s behavior to Petrillo, he responded that he had more pressing issues to deal

 with.

         Finally, Hernandez alleged that Petrillo held her to a different standard than

 males in the department. According to Hernandez, female ultrasound technologists

 were given a greater volume of work and less time off than male ultrasound

 technologists. On June 12, 2015, for example, Petrillo denied Hernandez’s request

 for leave while granting the request of a more junior male employee.

                                            B.

         On November 7, 2018, the District Court entered summary judgment in

 favor of the Secretary on all counts. On Count One—Plaintiffs’ retaliation

 claims—the Court found that Plaintiffs failed to show that the conduct they

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 complained of would not have occurred but for Plaintiffs’ EEOC activity. The

 Court also found that the Secretary offered nonretaliatory explanations for the

 conduct which Plaintiffs failed to show were pretextual. 1 On Counts Two and

 Three—Plaintiffs’ retaliatory hostile work environment claims and Hernandez’s

 sex-based hostile work environment claim, respectively—the Court found that the

 conduct complained of did not satisfy the “severe or pervasive” standard we

 articulated in Gowski v. Peake, 682 F.3d 1299 (11th Cir. 2012). This appeal

 followed.

                                                 II.

        We review a district court’s grant of summary judgment de novo.

 Crawford v. Carroll, 529 F.3d 961, 964 (11th Cir. 2008). In doing so, we view the

 evidence in the light most favorable to, and draw all reasonable inferences in favor

 of, the non-moving party. Id. Summary judgment is proper when the moving

 party is entitled to judgment as a matter of law because of a lack of any genuine

 issue of material fact. Fed. R. Civ. P. 56(c).




        1
         We acknowledge that the District Court may have found that the conduct underlying
 some of Plaintiffs’ retaliation claims failed to rise to the requisite level of material adversity
 under Burlington Northern and Santa Fe Railway Co. v. White, 548 U.S. 53, 126 S. Ct. 2405
 (2006). To the extent some of the claims were dispatched on that basis, remand would not be
 necessary since the Supreme Court’s decision in Babb v. Wilkie, 140 S. Ct. 1168, 206 L. Ed. 2d
 432 (2020), did not affect that particular requirement. Nonetheless, we find it difficult to discern
 whether the District Court dismissed any claims under Burlington Northern and we therefore
 remand the retaliation claims wholesale.
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                                           III.

       After the District Court entered summary judgment in this case, two

 intervening decisions—one from this Court and one from the Supreme Court—

 changed the law applicable to Plaintiffs’ discrete retaliation claims and their

 retaliatory hostile work environment claims in two respects. First, the Supreme

 Court in Babb v. Wilkie, 140 S. Ct. 1168, 206 L. Ed. 2d 432 (2020)—as we just

 recognized in Babb v. Secretary, Department of Veterans Affairs, No. 16–16492,

 2021 WL 1219654 (11th Cir. Apr. 1, 2021)—undermined to the point of

 abrogation our prior panel precedent and thereby established that retaliation claims

 like Plaintiffs’ that are brought under Title VII’s federal-sector provision are not

 subject to the but-for causation standard that the District Court applied below.

 Second, our decision in Monaghan v. Worldpay U.S. Inc., 955 F.3d 855 (11th Cir.

 2020), clarified that retaliatory hostile work environment claims are properly

 analyzed under the standard articulated by the Supreme Court in Burlington

 Northern and Santa Fe Railway Co. v. White, 548 U.S. 53, 126 S. Ct. 2405 (2006),

 rather than the more stringent “severe or pervasive” standard that the District Court

 applied. We remand these claims to the District Court for reconsideration in light

 of these intervening decisions, but we affirm the entry of summary judgment as to

 Hernandez’s sex-based hostile work environment claim, the resolution of which

 was not affected by the intervening decisions.

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       Part III.A explains the way the Supreme Court in Babb changed the

 causation standard applicable to Title VII claims against federal employers.

 Part III.B explains Monaghan’s effect on the standard applicable to retaliatory

 hostile work environment claims. And part III.C analyzes Hernandez’s sex-based

 hostile work environment claim.

                                           A.

       Title VII contains separate provisions for private and federal employers, and

 although it is generally assumed that Title VII’s federal-sector provision was

 intended “to make Title VII applicable in the federal workplace to the same extent

 that it was already applicable in the non-federal workplace,” Llampallas v. Mini–

 Circuits, Lab, Inc., 163 F.3d 1236, 1243 (11th Cir. 1998), there are significant

 textual differences between the provisions that we have until very recently ignored.

 The difference that concerns us today has to do with the way the provisions speak

 about the necessary causal relationship between an employee’s protected

 characteristics and the adverse employment actions taken against her. For present

 purposes, we are concerned only with Title VII’s cause of action for discrimination

 based on an employee’s EEOC activity—i.e., retaliation—and not with substantive

 discrimination based on “race, color, religion, sex, or national origin.”

       In the private-sector context, Title VII makes it unlawful for an employer to

 discriminate against an employee “because he has opposed any practice made an

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  unlawful employment practice by this subchapter, or because he has made a

  charge, testified, assisted, or participated in any manner in an investigation,

  proceeding, or hearing under this subchapter.” § 2000e–3(a) (emphasis added).

  The Supreme Court in University of Texas Southwestern Medical Center v. Nassar

  interpreted § 2000e–3(a)’s use of the word “because” as requiring “proof that the

  desire to retaliate was the but-for cause of the challenged employment action.”

  570 U.S. 338, 352, 133 S. Ct. 2517, 2528 (2013). In doing so, it leaned on a

  previous decision interpreting the Age Discrimination in Employment Act of 1967

  (the “ADEA”), which held that “the ordinary meaning of the ADEA’s requirement

  that an employer took adverse action ‘because of’ age is that age was the ‘reason’

  that the employer decided to act.” Gross v. FBL Fin. Servs., Inc., 557 U.S. 167,

  176, 129 S. Ct. 2343, 2350 (2009).

         Now for Title VII’s federal-sector provision, which states:

         All personnel actions affecting employees or applicants for
         employment . . . [in enumerated positions within the federal
         government] . . . shall be made free from any discrimination based on
         race, color, religion, sex, or national origin.2
  § 2000e–16(a) (emphasis added).




         2
            It may be noted that § 2000e–16(a) does not expressly provide a cause of action for
  retaliation. Because the Secretary does not raise the issue, we do not pass judgment on whether
  § 2000e–16(a) nonetheless provides such a cause of action implicitly. See Gomez-Perez v.
  Potter, 553 U.S. 474, 488 (2008) (holding that “discrimination based on age” as used in the
  ADEA includes “retaliation for complaining about age discrimination”).
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         The Supreme Court has not directly decided whether the federal-sector

  provision requires the same level of causation as the private-sector provision, and

  although the textual differences between the provisions are significant, we

  implicitly assumed in Trask v. Secretary, Department of Veterans Affairs, 822 F.3d

  1179 (11th Cir. 2016), that the differences were immaterial as far as causation was

  concerned. Citing Nassar, we said that “Title VII retaliation claims require proof

  that ‘[the] protected activity was a but-for cause of the alleged adverse action by

  the employer.’” Trask, 822 F.3d at 1194 (quoting Nassar, 570 U.S. at 362, 133 S.

  Ct. at 2534) (alteration in original). We ignored the fact that Trask’s status as a

  federal employee meant her retaliation claim was governed by § 2000e–16(a)

  rather than § 2000e–3(a). We implicitly held the same with respect to Trask’s

  claim under the ADEA, which like Title VII, has both federal-sector and private-

  sector provisions, the language of which substantially tracks Title VII’s

  provisions.3 Id. at 1191.


         3
             The ADEA’s private-sector provision provides:
         It shall be unlawful for an employer . . . to fail or refuse to hire or to discharge any
         individual or otherwise discriminate against any individual with respect to his
         compensation, terms, conditions, or privileges of employment, because of such
         individual's age.
  29 U.S.C. § 623(a)(1) (emphasis added).
         The federal-sector provision, by contrast, states:
         All personnel actions affecting employees or applicants for employment who are at
         least 40 years of age . . . shall be made free from any discrimination based on age.
  § 633a(a) (emphasis added).
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         A few years later in Babb v. Secretary, Department of Veterans Affairs, 743

  Fed. App’x 280 (11th Cir. 2018), we finally noted that the textual differences

  between Title VII’s private- and federal-sector provisions—“because of” versus

  “free from any”—might be meaningful. “[I]f we were starting from scratch,” we

  said, “we might agree” that a more lenient causation standard applied to federal-

  sector retaliation claims. Babb, 743 Fed. App’x at 290. Because Trask stood in

  our way as binding precedent, however, we were “constrained to hold that the

  district court did not err” in applying a but-for standard to Babb’s retaliation claim

  against the VA Secretary. Id. We said the same about Babb’s federal-sector

  ADEA claim. Id. at 287–88.

         The Supreme Court then granted cert on the ADEA issue only. Babb v.

  Wilkie, 139 S. Ct. 2775, 204 L. Ed. 2d 1156 (2019). The question before the Court

  was:

         Whether the federal-sector provision of the Age Discrimination in
         Employment Act of 1967, which provides that personnel actions
         affecting agency employees aged 40 years or older shall be made free
         from any “discrimination based on age,” 29 U.S.C. § 633a(a), requires
         a plaintiff to prove that age was a but-for cause of the challenged
         personnel action.

  Id. According to the Court, the plain meaning of “made free from any

  discrimination based on age” goes further than just imposing liability when age is a

  but-for cause of the personnel action. Babb v. Wilkie, 140 S. Ct. 1168, 1171

  (2020). Instead, it prohibits all but those personnel actions that are “untainted by

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  any consideration of age.” Id. As long as age discrimination “plays any part in the

  way a decision is made,” then the decision violates the ADEA. Id. at 1174.

        On remand from the Supreme Court, we considered what bearing the

  Supreme Court’s ADEA analysis had on the substantially identical language of

  Title VII’s federal-sector provision, and specifically whether the Supreme Court’s

  decision undermined to the point of abrogation our decision in Trask. We

  concluded that “the Supreme Court’s decision in Babb’s case undermined Trask to

  the point of abrogation and that the standard that the Court articulated there now

  controls cases arising under Title VII’s nearly identical text.” Babb, 2021 WL

  1219654, at *1. We therefore remanded to the district court with instructions to

  analyze Babb’s retaliation claim under the more lenient causation standard

  articulated by the Supreme Court. Id.

        We do the same here. Because the District Court required Plaintiffs to prove

  that their protected activity was a but-for cause of the adverse actions against them,

  we vacate the entry of summary judgment and remand to the District Court to

  analyze the claims consistent with the standard articulated in Babb.

                                           B.

        Title VII prohibits the creation of a hostile work environment in retaliation

  for an employee’s engagement in protected activity. Gowski, 682 F.3d at 1312.

  When we first recognized a cause of action for retaliatory hostile work

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  environment in Gowski, we said such claims are analyzed under the same standard

  as substantive hostile work environment claims under § 2000e–2(a)—that is, a

  plaintiff must show that “the workplace is permeated with discriminatory

  intimidation, ridicule, and insult, that is sufficiently severe or pervasive to alter the

  conditions of the victim’s employment and create an abusive working

  environment.” Id. at 1311 (quoting Harris v. Forklift Systems, Inc., 510 U.S. 17,

  21, 114 S. Ct. 367, 370 (1993)).

        It is understandable, then, that the District Court below applied the “severe

  or pervasive” standard to Plaintiffs’ retaliatory hostile work environment claims.

  After the District Court entered its order, however, we issued our opinion in

  Monaghan rejecting Gowski’s “severe or pervasive” standard as inconsistent with

  the Supreme Court’s decision in Burlington Northern and our earlier decision in

  Crawford (applying Burlington Northern’s retaliation standard). 955 F.3d at 862.

  Instead, we said retaliatory hostile work environment claims, like retaliation claims

  based on discrete acts, prevail if the conduct complained of “well might have

  dissuaded a reasonable worker from making or supporting a charge of

  discrimination.” Id. at 862–63 (quoting Burlington Northern, 548 U.S. at 68, 126

  S. Ct. at 2415).




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        Because the District Court analyzed Plaintiffs’ retaliatory hostile work

  environment claims under Gowski, we vacate that part of the judgment and direct

  the Court to instead apply Burlington Northern on remand.

                                           C.

        The intervening decisions that affected the disposition of Plaintiffs’ discrete

  retaliation claims and retaliatory hostile work environment claims have no bearing

  on Hernandez’s sex-based hostile work environment claim.

        While we have often said that substantive hostile work environment claims

  require proof that the hostile work environment was “based on” the employee’s

  protected characteristic, see, e.g., Reeves v. C.H. Robinson Worldwide, Inc., 594

  F.3d 798, 808 (11th Cir. 2010), it is evident that we have not meant that such

  claims require but-for causation. Congress expressly precluded a but-for

  requirement in the substantive discrimination context when it amended § 2000e–2

  by adding a subsection providing that “an unlawful employment practice is

  established when the complaining party demonstrates that race, color, religion, sex,

  or national origin was a motivating factor for any employment practice, even

  though other factors also motivated the practice.” § 2000e–2(m); Civil Rights Act

  of 1991, Pub. L. No. 102–166, § 107(a), 105 Stat. 1071, 1075 (1991). When we

  have said that an employer’s actions must have been “based on” the employee’s

  protected characteristic, therefore, we have really meant that the actions must have

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  been “motivated by” that characteristic. We have applied the same standard

  regardless of whether the claim arises under Title VII’s private- or federal-sector

  provisions. See Trask, 822 F.3d at 1196 (holding that plaintiffs failed to show a

  hostile work environment was “based on their protected status” because “there is

  no evidence that the[ VA management’s] . . . alleged hostility was in any way

  motivated by a discriminatory animus regarding the plaintiffs’ age or gender”).

         We perceive no material difference between the motivating-factor standard

  we have applied to substantive hostile work environment claims and the standard

  articulated by the Supreme Court in Babb. Although the Babb dissent asserts that

  the Court’s standard “imposes an even lower bar” than motivating factor, we are

  unconvinced. Babb, 140 S. Ct. at 1182 n.2 (Thomas, J. dissenting). Notably,

  under the Court’s standard, it is not enough to trigger liability that the employer

  simply considered the employee’s protected characteristic; that characteristic must

  still “play[] [a] role in the final decision.” Id. at 1174 n.3, 1174. It is difficult to

  imagine how an employee’s protected characteristic could play a part in the final

  decision without being a motivating factor in that decision. Babb, therefore, did

  not alter the causation standard we apply to substantive hostile work environment

  claims against federal employers.

         Our decision in Monaghan likewise left untouched the standard we apply to

  substantive hostile work environment claims as opposed to those based on

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  retaliation. See Monaghan, 955 F.3d at 861. Substantive hostile work

  environment claims still require plaintiffs to show that “the workplace is permeated

  with discriminatory intimidation, ridicule, and insult, that is sufficiently severe or

  pervasive to alter the conditions of the victim’s employment and create an abusive

  working environment.” Miller v. Kenworth of Dothan, Inc., 277 F.3d 1269, 1275

  (11th. Cir. 2002) (quoting Harris, 510 U.S. at 21, 114 S. Ct. at 370). That

  intimidation, ridicule, and insult must also bear “the necessary sexual or other

  gender-related connotations to be actionable sex discrimination.” Mendoza v.

  Borden, Inc., 195 F.3d 1238, 1247 (11th Cir. 1999) (en banc). It is on these two

  requirements that Hernandez’s claim founders.

        To be sufficiently “severe or pervasive,” the employer’s actions “must result

  in both an environment that a reasonable person would find hostile or abusive and

  an environment that the victim subjectively perceive[s] . . . to be abusive.” Miller,

  277 F.3d at 1276 (quotation marks omitted). “In evaluating the objective severity

  of the harassment,” we look to the totality of the circumstances, including: “(1) the

  frequency of the conduct; (2) the severity of the conduct; (3) whether the conduct

  is physically threatening or humiliating, or a mere offensive utterance; and (4)

  whether the conduct unreasonably interferes with the employee’s job

  performance.” Id.




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        The standards for judging hostility are intended to be “sufficiently

  demanding to ensure that Title VII does not become a ‘general civility code.’”

  Faragher v. Cty. of Boca Raton, 524 U.S. 775, 788, 118 S. Ct. 2275, 2283 (1998).

  “Properly applied, they will filter out complaints attacking the ordinary tribulations

  of the workplace, such as the sporadic use of abusive language, gender-related

  jokes, and occasional teasing.” Id. (internal quotation marks omitted). “[M]ere

  utterance of an . . . epithet which engenders offensive feelings in an employee does

  not sufficiently affect the conditions of employment to implicate Title VII.”

  Harris, 510 U.S. at 21, 114 S. Ct. at 370 (quotation marks omitted) (citation

  omitted).

        In addition to establishing that the employer’s actions were sufficiently

  “severe or pervasive,” a plaintiff must show that the actions were based on her sex

  rather than some other unprotected characteristic. Mendoza, 195 F.3d at 1245; see

  also Harris, 510 U.S. at 21, 114 S. Ct. at 370. We have noted that “Title VII does

  not prohibit profanity alone, however profane . . . [nor] harassment alone, however

  severe and pervasive. Instead, Title VII prohibits discrimination, including

  harassment that discriminates based on a protected category such as sex.” Baldwin

  v. Blue Cross/Blue Shield of Ala., 480 F.3d 1287, 1301–02 (11th Cir. 2007).

        Hernandez’s sexual harassment claim is based primarily on Geraci’s

  conduct. Hernandez complains of several incidents: Geraci pulled up her blouse to

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  show Hernandez the outline of her breasts through her undershirt; Geraci made

  inappropriate jokes to Hernandez, using the word “vagina”; Geraci made a gesture

  of inserting something into her vagina to Hernandez; Geraci gave Hernandez an

  angry look; Geraci ignored Hernandez on multiple occasions; Geraci gave

  Hernandez a “chest bump”; Geraci scanned her own abdomen with an ultrasound

  transducer in Hernandez’s presence, and revealed her abs to Hernandez multiple

  times; Geraci spoke to Hernandez in a “condescending and hostile tone”; Geraci

  insulted Hernandez about her eating disorder; Geraci embraced Hernandez and

  kissed her on the cheek; and Hernandez observed Geraci interacting with a male

  coworker in an inappropriately flirtatious manner. Hernandez also bases her claim

  on Petrillo’s failure to remedy the sexually hostile work environment created by

  Geraci.

        As an initial matter, most of Geraci’s conduct lacks “the necessary sexual or

  other gender-related connotations to be actionable sex discrimination.” Mendoza,

  195 F.3d at 1247. In making this inquiry, we are guided by the “common-sense

  rule that the context of offending words or conduct is essential to the Title VII

  analysis.” Id. at 810.

        Consider the context in which Geraci revealed the outline of her breasts to

  Hernandez. The incident occurred during a conversation about a male doctor to

  whom Geraci was attracted. Hernandez told Geraci that the doctor preferred “big

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  breasts,” and Geraci proceeded to lift up her shirt to prove that she was the doctor’s

  type. Nothing in the record allows the conclusion that Geraci’s conduct had

  anything to do with Hernandez’s sex.

        Similarly, the context surrounding Geraci’s inappropriate touching of

  Hernandez shows that the touching was not sex based. Geraci “chest bumped”

  Hernandez after learning of her employment benefits and giving Hernandez a high-

  five. Nothing in the record suggests that the bump was anything more than a mere

  celebratory gesture, as the context and the definition of the phrase suggest. See

  Macmillan Dictionary, Chest Bump,

  https://www.macmillandictionary.com/us/dictionary/american/chest-bump (last

  accessed Dec. 29, 2020) (defining “chest bump” as “an action in which two people

  bump their chests together, usually as a celebration”). Geraci’s decision to

  embrace Hernandez and kiss her on the cheek was similar—Geraci did so after

  Hernandez told her that Geraci’s patient cancelled an appointment.

        Likewise, the record shows that Geraci’s use of the word “vagina” occurred

  first in the context of a discussion about transvaginal ultrasounds. Then,

  apparently realizing that her talk of vaginas bothered Hernandez, Geraci began

  teasing Hernandez with the word. “Even gender-specific terms cannot give rise to

  a cognizable Title VII claim if used in a context that plainly has no reference to

  gender.” Reeves, 594 F.3d at 810. Although the word “vagina” is plainly gender-

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  specific, Geraci’s use of it was not gender-derogatory. Compare id. at 811–12 (a

  jury could find that the use of the words “whore,” “bitch,” and “cunt,” together

  with “vulgar discussions of women’s breasts, nipples, and buttocks” “contributed

  to conditions that were humiliating and degrading to women on account of their

  gender”); see also Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 80, 118

  S. Ct. 998, 1002 (1998) (“We have never held that workplace harassment, even

  harassment between men and women, is automatically discrimination because of

  sex merely because the words used have sexual content or connotations.”).

        Finally, there is no evidence suggesting that the angry looks, harsh words,

  and silent treatment that Geraci gave Hernandez were influenced by Hernandez’s

  sex. On the contrary, the record suggests that Geraci was angry at Hernandez

  because Hernandez reported Geraci for sexual harassment.

        Even if Geraci’s conduct was based on Hernandez’s sex, Hernandez’s claim

  would still fail because the conduct is insufficiently severe or pervasive to alter the

  terms and conditions of Hernandez’s employment. “We proceed with common

  sense, and an appropriate sensitivity to social context, to distinguish between

  general office vulgarity and the conduct which a reasonable person in the

  plaintiff’s position would find severely hostile or abusive.” Reeves, 594 F.3d at

  811 (quotation marks omitted) (alterations adopted).




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        In Mendoza, we said that a male supervisor’s conduct was not threatening or

  humiliating to a female employee when that conduct included telling the employee

  he was “getting fired up,” making sniffing sounds while staring at the employee’s

  crotch, brushing his hip against the employee’s hip, and following the employee

  around the workplace. 195 F.3d at 1248–49.

        In Johnson v. Booker T. Washington Broadcasting Service, Inc., by contrast,

  we held that an employee was sexually harassed when her male coworker

  repeatedly told her she had a sexy voice, winked at her, exposed the imprint of his

  private parts to her through his pants, gazed at her body in a sexual manner,

  repeatedly attempted to massage her shoulders, rubbed his body parts against her,

  and asked her questions about her sex life, among other things. 234 F.3d 501, 506

  (11th Cir. 2000).

        Geraci’s conduct toward Hernandez is significantly less severe than the

  conduct at issue in Johnson, and likely less severe than the insufficiently severe

  conduct in Mendoza, as well. Unlike those cases, some of Geraci’s conduct was

  merely witnessed by Hernandez rather than directed at her—namely, Geraci

  scanning her own abdomen, embracing a male coworker, and sitting on his lap.

  And the physical conduct that Geraci did direct toward Hernandez—pulling up her

  shirt, chest bumping, hugging, and kissing Hernandez—is, as explained above,

  qualitatively different from the sexually charged conduct in Johnson and Mendoza.

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           In sum, Geraci’s conduct is of an entirely different nature from the sexually

  predatory conduct at issue in Johnson and Mendoza. Such conduct is insufficiently

  severe or pervasive to alter the terms and conditions of Hernandez’s employment.

           Finally, Hernandez alleges that Petrillo held her to a different standard than

  similarly situated males in the ultrasound department. In particular, Hernandez

  complains that Petrillo denied her request for leave, while granting the request of a

  male employee with less seniority. This, however, is a quintessential “isolated

  incident[]” of the sort that is insufficient to alter the terms and conditions of

  employment. Faragher, 524 U.S. at 788, 118 S. Ct. at 2283.

           For the foregoing reasons, the District Court properly granted summary

  judgment for the Secretary on Hernandez’s sex-based hostile work environment

  claim.

                                             IV.

           We vacate the District Court’s entry of summary judgment with respect to

  Plaintiffs’ discrete retaliation claims and retaliatory hostile work environment

  claims and remand with instructions that the Court reconsider those claims in light

  of Babb and Monaghan. We affirm the District Court’s decision to enter summary

  judgment on Hernandez’s sex-based hostile work environment claim.

           AFFIRMED IN PART, VACATED IN PART, AND REMANDED

  WITH INSTRUCTIONS.

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                                       UNITED STATES COURT OF APPEALS
                                          FOR THE ELEVENTH CIRCUIT

                                          ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                        56 Forsyth Street, N.W.
                                                        Atlanta, Georgia 30303


  David J. Smith                                                                                             For rules and forms visit
  Clerk of Court                                                                                             www.ca11.uscourts.gov


                                                       April 20, 2021

  MEMORANDUM TO COUNSEL OR PARTIES

  Appeal Number: 19-10014-DD
  Case Style: Erin Tonkyro, et al v. Secretary, Dept. of Veterans
  District Court Docket No: 8:16-cv-02419-CEH-AEP

  This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF")
  system, unless exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF
  system by registering for an account at www.pacer.gov. Information and training materials related to
  electronic filing, are available at www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today
  in this appeal. Judgment has this day been entered pursuant to FRAP 36. The court's mandate will issue at a later
  date in accordance with FRAP 41(b).

  The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for
  rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate
  filings, a petition for rehearing or for rehearing en banc is timely only if received in the clerk's office within the
  time specified in the rules. Costs are governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content
  of a motion for attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

  Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list
  of all persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-
  1. In addition, a copy of the opinion sought to be reheard must be included in any petition for rehearing or petition
  for rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

  Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time
  spent on the appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of
  a petition for writ of certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404)
  335-6167 or cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

  For questions concerning the issuance of the decision of this court, please call the number referenced in the
  signature block below. For all other questions, please call Bradly Wallace Holland, DD at 404-335-6181.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Jeff R. Patch
  Phone #: 404-335-6151

                                                                                         OPIN-1 Ntc of Issuance of Opinion
